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                      UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF RHODE ISLAND

In re:

            LESA ANN NASH                               BK-15-12127
                      Debtor                            CHAPTER 13


                        OBJECTION TO CONFIRMATION

      The Trustee objects to confirmation of the debtor’s Plan on

the following grounds:

      1.   The Plan is not feasible; and

      2.    The Trustee objects to the provision in the debtor’s

Plan contained in Section IV. B.(1) which states “In the event

that a Secured Creditor listed in this section fails to timely

file a proof of claim in this case, by this Plan the Debtor shall

be deemed to have timely filed a proof of claim on behalf of each

such Secured Creditor pursuant to 11 U.S.C. §501(c), in the

amount set forth below…”.            The Trustee objects to paying any

claim in the absence of such claim being properly filed and

allowed.



                                      /s/ John Boyajian
                                      John Boyajian, Trustee
                                      182 Waterman Street
                                      Providence, RI 02906
                                      Tel:(401) 223-5550
                                      Fax:(401) 223-5548
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Lesa Ann Nash                                                 BK-15-12127
Objection to Confirmation




                                 CERTIFICATION

          I hereby certify that a copy of the within Objection
was mailed, postage prepaid, to Lesa Ann Nash, 60 Lakeview Drive,
Chepachet, RI 02814 and electronically mailed to Atty. Tatyana
Tabachnik at ribk@harmonlaw.com representing Federal Loan Home
Mortgage Corporation on December 11, 2015.

                                      /s/ Dana A. Westerkamp
